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      April 12, 2023

      Via ECF
      The Honorable Lorna G. Schofield
      United States District Judge
      Southern District of New York
      40 Foley Square, Court Room 1106
      New York, New York 10007

      Re:       Gallagher et al v. National Restaurant Association Solutions, LLC et al, Case No.
                1:23-cv-00435 – Pre-Motion Letter for Motion to Stay or Dismiss Action and
                Compel Arbitration

      Dear Judge Schofield:

              We represent Defendants National Restaurant Association Solutions, LLC
      (“Solutions”) and National Restaurant Association d/b/a ServSafe (“ServSafe”)
      (collectively “Defendants”) in the above referenced matter. We write in accordance with
      Your Honor’s Individual Rules of Practice and the Court’s Order, (ECF No. 15), to request
      a pre-motion conference. Defendants seek leave to move the Court for an Order: (1)
      dismissing the instant action or staying the action pursuant to the Federal Arbitration Act, 9
      U.S.C. § 1 et seq. (“FAA”); and (2) compelling arbitration of claims asserted in Plaintiffs’
      Amended Complaint (ECF No. 12). The basis for the anticipated motion are that: (1) it is
      Defendants’ current belief that Plaintiffs agreed to a valid and enforceable arbitration clause
      through Defendants’ website terms of use and/or terms of sale; and (2) Plaintiffs’ claims
      fall within the scope of the arbitration provision. 1

              Defendant Solutions is a wholly owned subsidiary of the National Restaurant
      Association, which is an IRS 501(c)(6) trade association representing hundreds of
      thousands restaurant locations. Named Defendant ServSafe is actually a brand of the
      business conducted by Solutions that offers courses and certifications for, among other
      things, Food Handler and Food Manager training. Plaintiffs bring this putative consumer
      class action based on the allegation that Defendants use portions of the proceeds from
      ServSafe courses to fund lobbying efforts related to keeping restaurant workers’ wages
      from increasing. Plaintiffs allege violations of New York General Business Law § 349
      (Count I); violations of New York and California common law fraud and material

      1
       Subject to approval by the court, we suggest the following briefing schedule: (1) motion to stay or dismiss
      case and compel arbitration due May 8, 2023; (2) opposition to motion due 30 days after on June 7, 2023; and
      (3) reply in support of motion due 21 days after opposition is filed. Defendants further suggest a conference
      date of April 24, 2023.


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omissions (Count II); violations of state consumer protection statutes (Count III); violations
of the California Consumer Legal Remedies Act (Count IV); violations of various state
consumer protection statutes (Count V); and violations of New York and California’s
common law unjust enrichment (Count VI).

       At all times relevant to Plaintiffs’ complaint, as a prerequisite to creating an account
necessary to take a ServSafe course, there was a clause in the terms of use which in
substantial and material part provided:

       At Company’s sole discretion, it may require You to submit any disputes
       arising from the use of these Terms of Use or the Website, including disputes
       arising from or concerning their interpretation, violation, invalidity, non-
       performance, or termination, to final and binding arbitration under the Rules
       of Arbitration of the American Arbitration Association applying State of
       Illinois law.

See https://www.servsafe.com/Terms-of-Use

Similarly, at all times relevant to Plaintiffs’ complaint, as a prerequisite to taking a
ServSafe Food Handler or Manager course, there was a clause in the terms of sale which in
substantial and material part provided:

       At our sole discretion, we may require you to submit any disputes arising from
       these Terms of Sale, including disputes arising from or concerning their
       interpretation, violation, invalidity, non-performance, or termination, to final
       and binding arbitration under the Rules of Arbitration of the American
       Arbitration Association applying State of Illinois law.

See https://www.servsafe.com/Terms-of-Sale

        While Defendants’ investigation is ongoing, it is Defendants’ current belief that the
terms of use and terms of sale have been substantially the same at all times relevant to the
Named Plaintiffs. Defense counsel advised counsel for Plaintiffs both verbally and in
writing of the existence of the arbitration clauses and provided the above hyperlinks to the
agreements. Defendants requested that Plaintiffs withdraw their complaint and move to
arbitration in Illinois. To date, Plaintiffs have not done so.

        The FAA applies to any agreement affecting interstate or foreign commerce. See 9
U.S.C. §§ 1-3. Under the FAA, courts must compel arbitration, and stay pending
proceedings, where: (1) an agreement to arbitrate exists between the parties; and (2) the
plaintiff’s claims fall within the scope of that arbitration agreement. See Hidalgo v.
Amateur Athletic Union of the U.S., Inc., 468 F. Supp. 3d 646, 653 (S.D.N.Y. 2020); see
also 9 U.S.C. §§ 3, 4. This is precisely the situation in the instant case.

       This Court should enforce the agreements and give effect to its terms. See, e.g.,
Meyer v. Uber Techs., Inc., 868 F.3d 66, 75 (2d Cir. 2017) (“[I]n the context of web-based
contracts . . . clarity and conspicuousness are a function of the design and content of the
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relevant interface.”). ServSafe’s terms of use and terms of sale were prominently displayed
when creating a SafeServ account or taking a ServSafe course throughout the relevant
period for all Named Plaintiffs.

        A court must dismiss or stay a judicial action or proceeding if it is satisfied that the
parties have agreed in writing to arbitrate an issue or issues underlying the action or
proceeding. See Ipcon Collections LLC v. Costco Wholesale Corp., 698 F.3d 58, 62 (2d Cir.
2012); 9 U.S.C. § 3; Oldroyd v. Elmira Sav. Bank, FSB, 134 F.3d 72, 75-76 (2d Cir. 1998)
(identifying steps in determining whether a judicial action must be stayed pending
arbitration).

       Thus, pursuant to Your Honor’s Individual Rules and the Court’s Order, (ECF No.
15), we request leave to file a motion to compel arbitration and request a pre-motion
conference on this matter.

       We thank the Court for its attention to this matter.

                                       Respectfully submitted,


                                       /s/ Ronald W. Zdrojeski
                                       Ronald W. Zdrojeski

                                       Counsel for Defendants




cc:    All Counsel of Record (via ECF)
